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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                            Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/


                   DR. CRAIG WRIGHT’S MOTION TO FILE UNDER SEAL

         Dr. Craig Wright respectfully moves to file his Motion for a Protective Order (the

  “Motion”) due by 3 p.m. on April 19, 2019, under seal, pursuant to Local Rule 5.4(b), and

  paragraph 11 of the Stipulated Confidentiality Order [DE 105].

                                     MEMORANDUM OF LAW

         Local Rule 5.4(b) provides that a party seeking to file under seal must: (1) set forth the

  factual and legal basis for departing from the policy that Court filings be public; (2) describe the

  proposed sealed filing with sufficient particularity without revealing the confidential information;

  and (3) specify the proposed duration of the requested sealing. “When balancing the public’s

  common-law right to access judicial records against a party’s interest in keeping the information

  confidential, courts consider, among other factors, whether allowing access would impair court

  functions or harm legitimate privacy interests, the degree of and likelihood of injury if made

  public, the reliability of the information, whether there will be an opportunity to respond to the

  information, whether the information concerns public officials or public concerns, and the




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  availability of a less onerous alternative to sealing the documents.” Sec. Networks, LLC v. Vision

  Sec., LLC, 2014 WL 12538975, at *1 (S.D. Fla. Apr. 8, 2014) (internal citations omitted).

          Pursuant to Federal Rule of Civil Procedure 24(c), Dr. Wright soon will be separately

  filing the Motion, which Magistrate Judge Reinhart stated during the parties’ April 11, 2019,

  discovery conference could be filed under seal. The Motion seeks a protective order allowing Dr.

  Wright to answer under seal certain questions that were posed during his initial limited deposition

  on April 4, 2019, because his responses to those questions would endanger his personal safety if

  they were made public. Further, the Motion references and summarizes portions of Dr. Wright’s

  initial deposition transcript, which has been marked “Confidential” pursuant to the terms of the

  Stipulated Confidentiality Order [D.E. 105].

          For these reasons, Dr. Wright respectfully requests that the Court permit him to file the

  Motion under seal. Sealing the Motion will not impair court function. There is no less-restrictive

  alternative to sealing the Motion. Dr. Wright requests that the Motion remain sealed for the

  duration of the litigation or until further order of the Court.

          Respectfully submitted,


                                                       Attorneys for Dr. Craig Wright

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                                                     AMANDA MCGOVERN
                                                     Florida Bar No. 964263
                                                     ZAHARAH MARKOE
                                                     Florida Bar No. 504734


                                    CERTIFICATE OF SERVICE

         I certify that on April 17, 2019, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.


                                                                /s/ Andres Rivero_______
                                                                ANDRES RIVERO




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